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                                                                         N.Y.S.D. Case #
                                                                         12-cr-0934-12(RA)




MANDATE
                          UNITED STATES COURT OF APPEALS
                                       FOR THE
                                   SECOND CIRCUIT
                      ______________________________________________

            At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
     Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
     10th day of December, two thousand and fourteen.

     __________________________________________

     United States of America,

     Appellee,                                                  ORDER

            v.                                                  Docket No. 14-3104

     Shu Feng Xia,

     Defendant-Appellant.
     ___________________________________________


            Appellant Shu Feng Xia moves to withdraw his appeal pursuant to FRAP 42(b).

            IT IS HEREBY ORDERED that the motion is GRANTED.


                                                             FOR THE COURT:
  USDC SDNY                                                  Catherine O’Hagan Wolfe,
  DOCUMENT                                                   Clerk of Court
  ELECTRONICALLY FILED
  DOC #:   _________________
  DATE FILED:December 10, 2014
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MANDATE ISSUED ON 12/10/2014
